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                             EXHIBIT A

        Dates of Plaintiff Atlas Master Fund, Ltd.’s Purchases of
             ARCP Common Stock Security-Based Swaps:


                                9/17/14
                                9/18/14
                                9/24/14
                                9/25/14
                                9/30/14
                               10/01/14
                               10/02/14
                               10/03/14
                               10/06/14
                               10/07/14
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                               10/27/14
                               10/28/14
                               10/29/14




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